Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 1 of 6. PageID #: 362945




                      PSJ15 Exh 53
     Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 2 of 6. PageID #: 362946




                          Document Produced in Native Format




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                   MNK-T1_0001315847
.'
                                                                                                                                           Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 3 of 6. PageID #: 362947



                                           SEA RCH                                                                                                                                                                                                                                                                                                                                                                 Date Chargeback     Reactivate
     DEA#             ~                    TYPE              CUSTOMER NAME                                           ADD LINE 1                                 ~                                                                  ADO LINE3                            cm                                                         STATE                                        I!f                                   Restriction        Date
     AB0397441        52004930             CTO               BOATW RIGHT DRUG CO INC                                 7899 C STREET                                                                                                                                      MILLINGTON                                                 TN                                           38053
     AB71 28487       52005845             CTO               DAVIDS PHARMACY AND SURG                                1637 NE 36TH STR EET                                                                                                                               POMPANO BEACH                                              FL                                           33064
     AB8689 2S8       52005974             CTO               BARCLAY PHARMACY, INC                                   200A N TAMIAMITR                                                                                                                                   VENICE                                                     Fl                                           34285
     AB9375456        52090304             CTO               BOLLING APOTHECA RY                                     106 16T H   ST NE                                                                                                                                  FAYITTE                                                    Al                                           35555
     AC13671'46       52006343             CTO
     ~J.S?398 .       ~0903¥ . er ·
     I . . IQ    52007890 : . CT
     ~5--5209057!-CT
      AD9690959  52008480     CTO                            SUPER DRUGS                                             85SW AYNE RD                                                                                                                                       SAVANNAH                                                   TN                                           38372
      AH0192865  52090799     CTO                            ISLAND DRUG                                             108 1 N COLU ER BLVD                                                                                                                               MARCO ISLAND                                               Fl                                           34145
     AlS594 836
     AK3819402_
      AL0210168
                 52090983
                 51013086
                 52014066
                              CTO
                              CT
                              CTO
                                                             JORGES PHARMACY
                                                             KNE!BERT CLINIC PHAR MACY
                                                             LIVE AND LET LIVE PHARMACY
                                                                                                                     1701 CORA L W AY
                                                                                                                     6a6 LESTE R ST 1
                                                                                                                     3520 NORTH W EST 17T H AVE
                                                                                                                                                                                                                                      .                                 MIAMI
                                                                                                                                                                                                                                                                        P()PlARBLUff
                                                                                                                                                                                                                                                                        MIAMI
                                                                                                                                                                                                                                                                                                                                   Fl
                                                                                                                                                                                                                                                                                                                                   MO
                                                                                                                                                                                                                                                                                                                                   FL
                                                                                                                                                                                                                                                                                                                                                                         ¥z
                                                                                                                                                                                                                                                                                                                                                                                33145
                                                                                                                                                                                                                                                                                                                                                                                63901
                                                                                                                                                                                                                                                                                                                                                                                33142
     AUOS9662    52014167     CTO                            MEDICAL TOWERS PHARMACY                                 17822 BEA CH BLVD                          CHARLES LESSI AND RICHARD SIEBERT                                                                       HUNT INGT ON BEA CH                                        CA                                           9264 7
     [Al!l'iliom ~2091067.    CT                             LOWE'S'6Rfiffl,R!                                       1536 -ruT BliiiAl>W AY                                ;:ti    .~"1·),.                                                                             MAfi:mLLE                                                  TM.     ~:_._~~-1:·.tr.;,.~·                 37804
      AL3 934014
      AM 8101634
                 52014531
                 52016450
                              CTO
                              CTO
                                                             LAA BS INC
                                                             M ET ROVIEW PHARMACY INC
                                                                                                                     911 NORTH 27 STR EET
                                                                                                                     1900 RA NDOLPH RD
                                                                                                                                                                                                                                                                        MILWAUKEE
                                                                                                                                                                                                                                                                        CHARLOTT E
                                                                                                                                                                                                                                                                                                          '                        WI
                                                                                                                                                                                                                                                                                                                                   NC
                                                                                                                                                                                                                                                                                                                                                                                53208
                                                                                                                                                                                                                                                                                                                                                                                28207
                                                                                                                                                                                                                                                                                                                                                                                                                         2/28/2012
                                                                                                                                                                                                                                                                                                                                                                                                                         7/J5/20l4
      A0794 6520 5209 1437    CTO                            OLS ON LIGGETT DRUG                                     75 5 TUTT LE AVE                                                                                                                                   SARASO TA                                                  Fl                                           34237                                    ll/6/2013
      AP165311 7 520177 67    CTO                            PG PHA RM ACY                                           11 11 ROUT E11 0                                                                                                                                   EAST FARMINGDALE                                           NY                                           11 73 5                                  1/31/2013
      AP23 31851 52017958     CTO                            PERRY COUNTY FO OD ANO DRUG                             11 2 HOUST ON AVE                          PO BOX 327                                                                                              PERRYV ILLE                                                AR                                           72 12 6                                  2/26/20]5
     ~1=s20l%s6::::£E                                        RAMO~f:IJc?llk                                          fos'lumeroill~                                                           ,,.,_ .. . ..,.. •:.-:·:"-·;"
                                                                                                                                                                                                         _
                                                                                                                                                                                                                                                                        ~H1o:6lLPll1A                                              PA                                           ii149                                    i7ai7i'ilil       472fil!
     AR59200 79
     AS 1824514
                      52020113
                      5209 172 4
                                           CTD
                                           CTO
                                                             ROSS M ORE PHARMACY
                                                             ST ANLEY PHARM ACY
                                                                                                                     338 WAS HINGTON AVE
                                                                                                                     2S BROADW AY
                                                                                                                                                                                                                                                                        BELLEV ILL E
                                                                                                                                                                                                                                                                        YONKERS
                                                                                                                                                                                                                                                                                                                                   NJ
                                                                                                                                                                                                                                                                                                                                   NY
                                                                                                                                                                                                                                                                                                                                                                                071 09
                                                                                                                                                                                                                                                                                                                                                                                10701
                                                                                                                                                                                                                                                                                                                                                                                              '                          10/8/2014
                                                                                                                                                                                                                                                                                                                                                                                                                         1/31/2013
     AS 9125 41.9     52022847             CTO               SCHULTZ PHARM ACY (OSHKOSH)                             220 NORTH MAIN STR EET                                                                                                                             OSHKOSH                                                    WI                                           S490 1                                    6/3/2014
     AT0192928        52022968             CTO               TOW N DRUG OF HOLLYW OOD INC                            27 30 HOLLYW OOD BLVD.                                                                                                                             HOLLYW OOD                                                 Fl                                           33020                                   ll/17/20ll
     AT1 08788 7      52023 033            CTO               TRINITY PHARMACY                                        1925 EAST ROSEM EA DE PARKW AY                                                                                                                     CA RROL LTON                                               Tl(                                          7500 7                                  10/22/20]5
                      52023237             CTO               EAS T HILLS FAM ILY PHARM ACY                           FORM ERLY MED ICINE SHOPPE 0539            11 11 SCA LP AVE                                                                                       JO HNST OW N                                                PA                                           ]5904                                    9/20/2012
                      Sl092000             CT
                      52023787             CTO
                     5202l8l3              a:
                     52024653
                     52088405
                                           er.
                                           CTO
                    _S20l &Sn              CT
     BA2166355        52026879             CTO  APPLE PHARM ACY                                                      500 NORTH IN DIANA AVE                                                                                                                             ENGLEW OO D                                                Fl                                           34223                                    3/8/2013
     8A3 809 653



     l3A909 413 3
     BA9 500 352
                      52027651




                      52030165
                      500 212
                                197
                                ii
                                           CTO
                                           CTO
                                           CT
                                           CTO
                                           CTO
                                                A FAIR DEA L PHARM ACY
                                                MED ICI NE SHOPPE
                                                MXOIIE EKDIIUGWEAlll!CARE
                                                ALPHA DRUGS
                                                AM ERIM ED Z II
                                                                                                        -
                                                                                                        -
                                                                                                                     39 11 104TH ST REET
                                                                                                                     938 PATRICI A AVE
                                                                                                                     15789 ll1/INGSTOH RD.
                                                                                                                     7857 PALM RIVER ROAD
                                                                                                                     OBA CITY PLA CE PHARM ACY
                                                                                                                                                  ----~-~-                 ---
                                                                                                                                                                200 SOUTH ROSEMARY AVE
                                                                                                                                                                                                                  ·j
                                                                                                                                                                                                                                                                       CORONA
                                                                                                                                                                                                                                                                        DUNED IN
                                                                                                                                                                                                                                                                       AOXllEEJ< =-ir--.·~•Mo., ~~~!-~~~J~~
                                                                                                                                                                                                                                                                       TAM PA
                                                                                                                                                                                                                                                                       WES T PALM BEA CH
                                                                                                                                                                                                                                                                                                                                   NY
                                                                                                                                                                                                                                                                                                                                   Fl

                                                                                                                                                                                                                                                                                                                                   Fl
                                                                                                                                                                                                                                                                                                                                   Fl
                                                                                                                                                                                                                                                                                                                                                                              .~
                                                                                                                                                                                                                                                                                                                                                                                11 368
                                                                                                                                                                                                                                                                                                                                                                                34698

                                                                                                                                                                                                                                                                                                                                                                                33619
                                                                                                                                                                                                                                                                                                                                                                                33401
                                                                                                                                                                                                                                                                                                                                                                                           '=~~           .~ :   ..     1/30/2014
                                                                                                                                                                                                                                                                                                                                                                                                                        9/13/2012
                                                                                                                                                                                                                                                                                                                                                                                                                        ~
                                                                                                                                                                                                                                                                                                                                                                                                                       ll/17/20ll
                                                                                                                                                                                                                                                                                                                                                                                                                       ll/17/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                           f/WU.


     BA9 633252       565678               CTO  AM ERIM EO Z ll                                                      OBA CITY PLA CE PHARMACY                   200 SOUTH ROSEMARY AVENUE                                                                              W EST PALM BEA CH                                           Fl                                           33 40 1                                11/17/2011
      l\&iS2Ms5~030266
      B4199JP
     BB8 426264
                      51031008
                      52032469
                                           CT
                                           CT__
                                           CTO
                                                DAVIS i!i'.Aiios PHARM ACY
                                                             SA~1EWeHM,;Qc{
                                                                        \I
                                                                                                     ,i."1-~
                                                                                                      ·11 .. ,
                                                                                                                     232 E..OAV!SBLVD.
                                                                                                                     ~10o'OONliELLmEET
                                                                                                                     1700 LAS VEGAS BLVD SOUTH
                                                                                                                                                                                                   ~.
                                                                                                                                                                                                                        , - _,c__• , . ~i .. -~. . .t:-\
                                                                                                                                                                                                                        n   '.°"      "   g ~~1~·'·
                                                                                                                                                                                                                                                            .:.; :
                                                                                                                                                                                                                                                      ·.~~1 ~ ~
                                                                                                                                                                                                                                                                       rAA!PA,.,;
                                                                                                                                                                                                                                                                       BAlTIMORE
                                                                                                                                                                                                                                                                                                     l-
                                                                                                                                                                                                                                                                                                          -              ~··
                                                                                                                                                                                                                                                                                                                   :·~ ,- l·
                                                                                                                                                                                                                                                                                                                                   FL
                                                                                                                                                                                                                                                                                                                                  .MO
                                                                                                                                                                                                                                                                                                                                   NV
                                                                                                                                                                                                                                                                                                                                              -~"51' ·. ·t,-
                                                                                                                                                                                                                                                                                                                                             ~~ .. ~ ~ ~
                                                                                                                                                                                                                                                                                                                                                                     - ,'E
                                                                                                                                                                                                                                                                                                                                                                    '.~
                                                                                                                                                                                                                                                                                                                                                                              ..~6.
                                                                                                                                                                                                                                                                                                                                                                                 .,,,.,
                                                                                                                                                                                                                                                                                                                                                                                21224     ~~·:· ~~~t:si- :"·~:r:        9fpl21l!1
                                                                                                                                                                                                                                                                                                                                                                                                                        9/16/21113
                                                                                                                                                                                                                                                                                                                                                                                                                                          1l/J.0/1<
                                                                                                                                                                                                                                                                                                                                                                                                                                           ll/1
                                                             BER CORPORATION                                                                                                                                                                                           LAS VEGAS                                                                                                89104                                  10/18/2011
     BB9044 847       52032636             CTO               BETT ER HEA LTH PHARMACY                                200 7 SOUTH PARSONS AVENUE                                                                                                                        SEFFNER                                                     Fl                                           33584                                   9/13/2012
     8B9186506        478756               CTO               BEST CA RE PHARMACY INC                                 4 GARTON PLAZA                                                                                                                                    WEST ON                                                     WV                                           264 52                                  7/15/2014
     BC2 753021       52033 277            CTO               CA BANA PHARMACY                                        119 NORTH W EST 29TH                                                                                                                              MIAMI                                                       Fl                                           33127                                  10/18/2011
     BC5 8148 10      52035588             CTO               CA FFEY 'S PHARMACY                                     3707 ST ST EPHENS RO SUITE B                                                                                                                      W HISTI ER                                                  Al                                           36612                                   10/8/2014
     BC7 12 64 57     52036698             CTO               BROOK'S PHARM ACY                                       3501 HEA LTH CENTER BLVD                                                                                                                          BONITA SPRINGS                                              Fl                                           3413 5                                 10/18/2011
     BC7 467081       52036913             CT                CA LIGOR RX INC.                                        U 26 LEX INGTON AVE                                                                                                                               NEW YORK                                                    NY                                           100 28                                 11 /17 /2011        1/12/16
     8(.8 624997      52037523             CTO               COM M UNITY DRUG OF MANCHES TER                         1668 SOUTH HW Y 421                                                                                                                               MANCHEST ER                                                 KY                                           40962                                   9/13/2012
     ~1842815=520579~                     s'CTO
                                             !'              oi~·                                                    ~lr~IN~-lim'.                                                .....-J..,.,                , . .;s~..,,;. . . ~~. ~~· ..m~---;._~ ;p                A'i'lIDiifiili          '"*"-"'        ;;     ~             CA             :     r.~"Y· '-.;;-.          ~            s;m~;·>:i··;&~ "r..        Bl~
     8096 700 58      515 312                                OBA LA M S PHARMACY CORP                                2202 W EST CHARLEST ON BLVD                SUITE 13                                                                                               LAS VEGAS                                                   NV                                           89102                                  10/18/2011
     BE3525930        52039681            CTO                HAROLD5 PHARM ACY                                       2272 MCDONALD AVE                                                                                                                                 BROOKLYN                                                    NY                                           nzzs
     !£381 4541
     BE66654n
                      52lim!i
                      52042923
                                          CT
                                          CTO
                                                             ~:oi?e~a,
                                                             EXT ENDED CA RE PHARM
                                                                                                                     !!IJ!EASTPIIIEBlVD
                                                                                                                     650M      0
                                                                                                                                                                                                 :;i   "l.·            !.~·m.;t . · ·!                                 jl(jl'OO{ii{ij!~
                                                                                                                                                                                                                                                                       CHICOPEE
                                                                                                                                                                                                                                                                                               ·~zr ;~f·"'~
                                                                                                                                                                                                                                                                                                     1                             MO
                                                                                                                                                                                                                                                                                                                                   MA
                                                                                                                                                                                                                                                                                                                                                 ;!:;
                                                                                                                                                                                                                                                                                                                                                          =·                    63901
                                                                                                                                                                                                                                                                                                                                                                                01020
     BE9 638909       51221 0             CTO                EXT RA CA RE PHARM ACY INC                              200 1 EAST FLfT CHER AVE                                                                                                                          TAMPA                                                       Fl                                           33 612
     BF7 44 77 74     520444 13           CTO                FAR MACIA SA N ANT ONIO                                 23 17 FEDERA L   ST                                                                                                                               CA MDEN                                                     NJ                                           08105

     ""'"''"
     BG5""""
                      52045295
                      52045694
                                          CTO
                                          CTO
                                                             GOLDEN GATE PHARMACY INC
                                                             MCLA IR GRIFFIN PHCY OM £
                                                                                                                     11 669 COLLIER BLVD
                                                                                                                     860 MONTCLA IR RD.
                                                                                                                                                                                                                                                                       NAPLES
                                                                                                                                                                                                                                                                       BIRMINGHAM
                                                                                                                                                                                                                                                                                                                                   Fl
                                                                                                                                                                                                                                                                                                                                   Al
                                                                                                                                                                                                                                                                                                                                                                                34 11 6
                                                                                                                                                                                                                                                                                                                                                                                35213
     86827190 0      5204 625 8           CTO                GULFSHORE PHARMACY                                      421 9TH ST REET NORTH                                                                                                                             NAPLES                                                      Fl                                           34 102
     BG8830223       5204 6215            CTO                GULF COAST MED ICA L PHARM                              13 685 DOCT ORS WAY                        SUITE 150 ROOM 1                                                                                       FO RT MYERS                                                 Fl                                           33912



                                                                                                                                                                                                                             1_~-:- ~~~~-                                                                                          CA
                                                                                                                     2300 HUNT INGTON DRIVE                                                                                                                            SAN MARINO


                                                                                                      :~             :S5t:BAv ,, ,,_~EI- . ~,.'.4.·                                                                                                                    '1/f!EJIGAJIMN
                                                                                                                                                                                                                                                                      ·IAAGO'.:·                   . ~t·:r.~                       FL.
                                                                                                                                                                                                                                                                                                                               :· .,r;
                                                                                                                     8820 MIRAMAR PARKWAY                       8AY11                                                                                                  MIRAMAR                                                     Fl                                           33 025                                 11/17/2011


                                                                                                                                                           ..
     815793395       5204 9494             CTO               ROBERTS DRUG ST ORE                                     590 W EST FLA GLER ST                                                                                                                             MIAM I                                                      Fl                                           33130                                   9/22/2011
     81661613 8       5209 2880            CTO               IU ANOSONS                                              34 54 NORTHW ES T7T HAVfNUE                OBA ROBERTS DRUG STORE 2                                                                               MIAMI                                                       Fl                                           3312 7                                  9/22/2011
     llliiiAiU ··   :,320ffl50:....:....C..Cil> ·, ·• '1                                         ~.-s
                                                           ·:~0ftlfG'STORE/ , .. · ,,,t,_,. ,., .•               ,   14:Nttlllll~N'Sr.' '- ·j - _ t~   -                                . .... :-:                 ;        :s'. ,!. l!~t?J-:~!!··""if'"-i ,.        i PETERS:BURG · ' ...i._: ;,i.;c;-·..~ -~·~.-···             !! · · •':"-'_!".··-~ 1!£s·:-:-.-.~.:=~~· . ~,..':)'~iml&~:: ·,~f~<~-'·"'··~~
     BJ462606 2       5204 9913            CTO              JAY SCOTT                                                22 00 NORTH GLENOAKS BLVD                                                                                                                         BURBANK                                                     CA                                          91504                                    2/19/2014




     CONFIDENTIAL--SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                        MNK-T1 - 0001315847
                                                                                                                  Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 4 of 6. PageID #: 362948



                            SEARCH                                                                                                                                                                                                                                                          Date Chargeback     Reactivate
D EA O         Customer#    TYPE                                                                                               ADD LINE 2                                ~[ill_!J!,il_E_3                        CITY                  STATE                         ?IP                       Restriction        Date
                            :er:                                                                                               SUITE l(!O                                                                        JOllllST OW ,        PA
BJ9752115      518537       cm                                                                                                                                                                                   ORLANDO               FL                            32837
81.9637818_509!13           cr                                                                                                                                                                                   VAl..ENCA,                                          --  ,5
BM22D68S6      52093057     cm                                                                                                                                                                                   MANCHESTER            KY                            40962
:-1~_,_JR.056560,                                                                                                                                                                                                ~                                                   71!578
BM4332134      52093120     cm                                                                                                                                                                                   DOUGLA S              GA                            31533                        2/28/2012
               52,                                                                                                                                                                                               ~                    'fl"                           32792                         4/1/2,0U          8/2/12:
BM5606326      52057397     CTD      MEDICINE SHOPPE 1528                                  6643 CHURCH ST                                                                                                        DOUGLASV ILLE         GA                            30134                         4/1/2012
BMS868267      52057560     CTD      MEDICINE CENTER                                       1634 JONESBORO RD SE                                                                                                  ATlANTA               GA                            30315                        9/13/2012
"'""'611_52~                         MEDIW PffJW,\M:'f'.182                                11460:12 Ml~ROAD                                                                                                      ~                    Mt                             ~                             4/iJiojj,
BM80981H9      52058662     CTD      MODERN PHARMACY                                       123 ALTON RD                                                                                                          MIAMI BEACH           Fl                            33139                        7/29/2012
BM8694665      52058919     CTD      SYL MAX PHARMCARE                                     375 WEST STREET RD                                                                                                    WARMINSTER            PA                            18974                       11/17/2011
BM9269196      481897       CTD      MURPHY DRUGS                                          616 SOUTH BROAD ST                                                                                                    THOMASVILLE          GA                             31792                         8/9/2013
               52,          'cr      NORl1jP_OjlT_ ~HA!1 "1AC)' INC                        l~SOUJ:11,TAMIAMl~L                                                           J?:liAMroi ONfSHOPPE                    ~                    'fr                            34m.                          ifi/2012            'Jl,12
BN706 5332     52059816     CTD      NAS HVILLE PHARMACY SERVICES                          719 THOM PSON LA NE                                                                                                   NAS HVILLE           TN                             372 04                       1/31/2013
806802448      5206072 2    CTD      OW A\SINC                                             29 81 FULTON    ST                                                                                                    BROOKLYN             NY                             11 208                       6/21/2013
009808506      519714       CTD      OVERTONS PHARMACY /MUNSEY                             106 ADM INIST RA TION ROAD                                                                                            OAK RIDGE            TN                             37830                       11 /17 /2011
BP67 77 532    52063248     CTD      PROSCRIPT PHARMACY SERVICES INC.                      3744 SW 64TH AVE.                                                                                                     DAVIE                Fl                             33314                       11/ 17/2011
BP72 04 833    5209 3398    CTD      PHARMACY ONE INC                                      OBA ROBERTS DRUG ST ORE #3                                                                                                                 Fl                             33 142                       9/U/2011
'8P'8150663·                cr.      _P ROSPERllY _i,<A RMAQ                               _850S ~ UffGT _ON BLVD                                                                                                                     W.                                                                            ~g
BQ4S 31889     52064 388    CTD      QUALITY HEA LTH DRUG INC                              100 3 OGDEN AVENUE                                                                                                    BRONX                 NY                                                         1/31 /20 14
               52093418     cm                                                             33 36 WEST A    J   HW Y                                                                                              MORRIST OW N         TN                                                          9/13/2012
                                                                                                                                                                                                                                      GA




BR944 372 8    489656       CTD      ROBERTS DRUG #4                                       111 NORTHW EST 1S T ST                                                                                                MIAMI                Fl                             3311 8                      10/18/2011
BS09 2654 S    52068530     CTD      SOUTHW EST PHARM ACY                                  OBA THE PHARM ACY SHOPPE            3201 SOUT H 16T H ST REET                 SUITE 10 30                             MILWAUKEE            WI                             53215                       10/18/2011
BS5385504      520704 87    CTD      ST PAULS PHARMACY                                                                                                                                                           HUNT INGT ON PARK    CA                             90255                       10/30/2012
IISS744645'Msffio'f.h'      p""      ~                                                                                                                                                                           BROOXSVI LLE         R'.'                           3460i'                     'um,'                    12'
856156245      520709 82    CTD      SUNSHINE PHARMACY INC                                 548 2 RA TT LESNAKE HAMM OCK RD                                                                                       NAPLES               Fl                             3411 3                        3/8/2013
0572 18565     520 71 964   CTD      SUNSHINE PHARMACY                                     54 80 RAffi ESNAKE                  OBA SUNSHINE SOL UT IONS PHARMACY                                                 NAPLES               Fl                             3411 3                        3/8/2013
8577 19795     52072 394    CTD      SHAYONA PHARMACY                                      167 SM ITH ST                                                                                                         PERTH AMBOY          NJ                             08 861                      11 /17 /2011
859085538      52073214     CTD      SUM M ERFIELD PHARM ACY                               11 34 9 BIG BEN RO                                                                                                    RIVER VIEW           Fl                             33569                        1/31/2013
BS925S274      49817 5      CTD      SUPERIOR PHARMACY LLC                                 300 7 W EST CY PRES S ST                                                                                              TAMPA                Fl                             33 609                       3/8/2013
85935213 1     4906 45      CTD      SUPER AID PHARMACY LLC                                247 VIRGINIA AVE                                                                                                      RICH CREEK           VA                             24147                       l/31/2013
859699731      54090 1      CTD      SU PERIOR PHARMACY LLC                                77 47 W EST HILLS BOROUGH AVE                                                                                         TAM PA               Fl                             33615                        3/8/2013
8598844 67     525 063      CTD      SUNSHINE PHCY AT DAVIS                                6350 DAVIS BLVD                                                                                                       NAPLES               Fl                             34104                        3/8/2013
BT0313 243     52073 261    cm       TOW NE PHARM ACY                                      2 W AS HINGTON AVE                                                                                                    DUNELLEN             NJ                             08812                      12/13/2012
BT7016860      52076980     CTD      TAFT PHARM ACY                                        200 56 VENTU RA BLVD                                                                                                  WOODLA ND HILLS      CA                             913 64                      8/15/2012
BT7 672 492    52077 481    CTD      T J ENTERPRISE INC                                    OBA BETT ER VALUE PHARMACY          11 35 SOUTH SUNSET AVENUE                                                         WEST COVINA
)ITB152023=5                         TOpD'S'iiARVARO PARI< PHAR'INC                        950 E HARVARD AVE s01TE 170,                                                                                          ~
BT8599891      52078078     CTD      MED ICI NE SHOPPE                                     2004 E HOUST ON                                                                                                       SANANTONIO
                ,m~         ct'"      EARJ};j(d                                            23511'<lRTHWESt 93~AVE'                                                                                               ~
BT94 5090 1    484941       CTD      TEX AS ROAD PHARMACY       Z                          300 GORDONS CORNER ROAD                                                                                               MANALA PAN           NJ                             0772 6                      7/29/2012
BU6083416      520 78669    CTD      ULTRATE CH   MEO SUPPLY        EQUIP                  8150 SW 8TH ST                      SUITE 105                                                                         MIAMI                Fl                             33 144                     11 /17 /2011
                            CTD      UNIVERSITY PHARMACY INC                               500 UNIVERSITY BLVD                 SUITE 108                                                                         JUPITER              Fl                             33 458                     11 /17/2011
                                     \/AlLEYPHARMAi:r."'""                                 1324,WESl'J.VEJ~l -                                                                                                                        :c..:                                                        "9'ag13
                            CTD      W EST BURY PHARMACY                                   8903 TH REE CHOPT ROAD                                                                                                RICHM OND            VA                             2322 9                      5/15 /2015
BW 5311 383    52082704     CTD      W HITE FRONT                                          80 1 B BAKER                                                                                                          COSTA MES A          CA                             92626                       9/13/2012
                                                                                                                                                                                                                 MODES TO                                                                       10/23/2012




FA1429 629     616742       cm       AVALON PARK PHARM ACY                                 457 AVALON PHARMA SOUT H BLVD                                                                                         ORLA NDO              Fl                            32828
FA1571S79      620549
M2i132S(:~2005!191
FA25 3615 8
                            CTD      ABC PHARMACY
                                                       -~~- ·~·        t::: •1:
                                                                                           3050 EAST BONANZA RD
                                                                                           ffi SQt.J'rit:tfi:F sffii~ara
                                                                                           8324 US HIGHW AY 301 NORTH
                                                                                                                               D!l-\, Tllf~OT!!~ Y~OP              :·-           :          =~~"'-~   ~ :.,;!_
                                                                                                                                                                                                                 LAS VEGAS
                                                                                                                                                                                                                 ~~ !!~3!~·
                                                                                                                                                                                                                 PARRISH
                                                                                                                                                                                                                                       NV
                                                                                                                                                                                                                                     .·~
                                                                                                                                                                                                                                       FL
                                                                                                                                                                                                                                                 l:!i11"-i{;~~~·E·
                                                         !ff.r::t~;- -J-·~':; :-.~u~.'.?     .. -                                                                                                                                             ,Jf~t                            - ~·-,-i/J
               536048       CTD      BELA VlNAS H INC NORTH DALE PHARM ACY                                                                                                                                       NORTH DALE           FL                             33624
""""''"
FB006 6882     5444 51      CTD      BUDGET DRUGS                                          131 50 SOUT HW EST 13 4TH ST REET                                                                                     MIAMI                Fl                             331 86
FS08523 58     593385       CTD      BROTH ERS PHARMACY ANO DISCOUNT                       100 1 SOUTH W EST 27T H AVE                                                                                           MIAMI                Fl                             33 13 5
               604847       CTD      some HILL PHARM ACY                                   42M AINST                                                                                                             MADISON              NJ                             07940




CONFIDENTIAL--SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                       MNK-Tl_0001315847
                                                                                                      Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 5 of 6. PageID #: 362949



                            SEARCH                                                                                                                                                                                                                                                                                                                                           Date CharBeback   React iv ate
DEA#          Custom er#    TYPE       CUSTOMER NAME                                ~                          AQQ.ill:!U                                              ADD LINE 3                                                         CITY                                      STATE                                               I!!                                    Restriction        Date
FB2351891 661719            CTO        BREWERYTOWN RX PHARMACY             2621 WEST GIRARD AVENUE                                                                                                                                         PHILADELPHIA                             PA                                                  19130                                    10/23/2012
FB37l71S3 706064            CTO        BROWNS DISCOUNT APOTHECARY          296S HIGHWAY 195                                                                                                                                               JASPER                                    Al                                                  35503                                       6/3/2015
FC0096215 555137            CTO        CAPE CORAL EXPRESS                  SOS DEL PRADO BLVD NORTH                                                                                                                                       CAPE CORAL                                Fl                                                  33909                                    10/18/2011
FC0488420 564598            CTO        CHAAND INC DISCOUNT                 15511 NORTH FLORIDA AVE             SUITE C2                                                                                                                   TAMPA                                     Fl                                                  33613                                    11/17/2011
FC0861345 588097            CTO        CASTLE Hill DRUGS INC.              674 CASTLE Hill AVE                                                                                                                                            BRONX                                     NY                                                  10473                                    11/17/2011
FC2476047 668509            CTO        C AND R PHARMACY                    2001 SPRINGHILL AVE                                                                                                                                            MOBILE                                    Al                                                  36607                                      7/13/2015
FC35908B6 702890            CTO        CAREPRO PHARMACY                    343 NEW PORT AVE                                                                                                                                               QUINCY                                    MA                                                  2170                                       9/16/2013
FD0486490 564597            CTO        DYL LLC                             OBA WEST GORE PHARMACY                                                                                                                                         ORLANDO                                   Fl                                                  32806                                      1/31/2013
FD0801515 585626            CTO        DAYTONA DISCOUNT PHARMACY           815 D BEVILLE ROAD                                                                                                                                             5 DAYTONA SCH                             Fl                                                  32119                                      9/22/2011
                            g                                                                                                                        .r;., . ,, .
                                                                                                                                                    -~·'.,· .. · .;·1.                             aS.!S"'J·;
~  ~~-591414
FOID4J2J
FD2295269
FED422826
              614387
              659594
              562506
                            CTO
                            CTO
                            CTO
                                       OALESl!liA~
                                       DESERT SKY PHARMACY
                                       DY LLLC
                                       EAST COAST PHARMACY
                                                                           23"[D£NVEl(AVENUE
                                                                           6750 WEST THUNDERBIRD ROAD
                                                                           1670 EAST HIGHWAY SO
                                                                           504 GARDEN STREET
                                                                                                                                                                                                                                          FORT}UPTON
                                                                                                                                                                                                                                          PEORIA
                                                                                                                                                                                                                                          CLERMONT
                                                                                                                                                                                                                                          TITUSVILLE
                                                                                                                                                                                                                                                                   ··=              co
                                                                                                                                                                                                                                                                                    A2
                                                                                                                                                                                                                                                                                    Fl
                                                                                                                                                                                                                                                                                    Fl
                                                                                                                                                                                                                                                                                                              ·.:!                      1!06l1
                                                                                                                                                                                                                                                                                                                                        85381
                                                                                                                                                                                                                                                                                                                                        34711
                                                                                                                                                                                                                                                                                                                                        32796
                                                                                                                                                                                                                                                                                                                                                            ·~1                    7~'ffiM
                                                                                                                                                                                                                                                                                                                                                                                    4/1/2012
                                                                                                                                                                                                                                                                                                                                                                                    3/8/2013
                                                                                                                                                                                                                                                                                                                                                                                    5/3/2013
                                                                                                                                                                                                                                                                                                                                                                                                   lD/10/12


FE0792146     608194        CTO        ENCORE PHARMACY DISCOUNT INC        105 EAST MONUMENT AVE                                                                                                                                          KISSIMMEE                                 Fl                                                  34744                                      9/16/2013
FE1512501     624162        CTO        EDGE PHARMACY                       2039 EAST EDGEWOOD OR                                                                                                                                          LAKELAND                                  Fl                                                  33803                                       3/8/2013
FE1781207     643231        CTO        HOPKINS PHARMACY                    4401 SOUTH HOPKINS AVENUE           102                                                                                                                        ITTUSVILLE                                Fl                                                  32780                                     9/13/2012
FEI854 78J    642467        CTO        EXTENDED CARE PHARM                 100 NORTH MAIN STREET               PO BOX 640                                                                                                                 HASTINGS                                  Fl                                                  32145                                     7/29/2012
FE2088183     649724        CTO        EB DRUGS                            4158 ROWAN ROAD                     OBA EDS FAMILY FRIENDLY PHARMACY                                                                                           NEW PORT RICHEY                           Fl                                                  34653                                     8/15/2012




--
FE2683969     678148        CTO        EUROPEAN APOTHECARY INC             66-19 FRESH POND RO                 OBA CHOPIN CHEMISTS                                                                                                        RIDGEWOOD                                 NY                                                  11385                                    12/17/2015
FE4302434     715732        CTO        ED R PHARMACY CORP                  2272 MC DONALD AVE                  OBA HAROLD$ PHARMACY                                                                                                       BROOKLYN                                  NY                                                  11223                                     2/13/2014
              562321        CTO        FARMAOA DEL PUEBLO                  2123 CIVIC CENTER DRIVE                                                                                                                                        NORTH LAS VEGAS                           NV                                                  89030                                       4/1/2012
FF0704610     585400        CTO        FELKY RX                            1S429 NORTH FLORIDA AVE                                                                                                                                        TAMPA                                     Fl                                                  33613                                    11/17/2011
FF1706956     638325        CTO        FRUITVALE AVE PHARMACY              2693 FRUITVALE AVENUE                                                                                                                                          OAKLAND                                   CA                                                  94601                                     9/13/2012
FFJ928110     646850        CTO        HUNTING CREEK POINTE PHARMACY      8147 COPERNICUS WAY                  SUITE 101                                                                                                                  NEW PORT RICHEY                           Fl                                                  34655                                       4/1/2012
Ff2 1JS04 5   650724        CTO        SMZA ENTERPRISES LLC                OBA FIRST CHOICE PHARMACY & COM POU 754 SOUTH GOLDENROD ROAD                                                                                                   ORLANDO                                   Fl                                                  32822                                       4/1/2012
FG1524657     618408        CTO        GENERIC RX LLC                     3448 WEST HILLSBORO BLVD                                                                                                                                        DEERFIELD BEACH                           Fl                                                  33441
FG1706893     626179        CTO        GUDOC PHARMACY PLLC                 106 SOUTH PARSONS AVENUE                                                                                                                                       BRANDON                                   Fl                                                  33511
              650294        CTO        GREENWALL PHARMACY                 3390 SOUTHWEST 22ND STREET                                                                                                                                      MIAMI                                     Fl                                                  33145
                            CTO        GOODHEART PHARMACY                  1337 SOUTH 49 ST                                                                                                                                               PHILADELPHIA                              PA                                                  19143
                            a          HSPHAAMACYOBAHIGHSTREETPHAAMACY ,QABMACAJITHURBlVO                      !; ~~O;~t~i~.~ ...1.j.                                       •·•••~~:Pf.-. ,. ..
                                                                                                                                                                            ~}~tt,\~;                          ,.:,~·.,:.". ~"            OAkLANO                                   a                      --/~·~· '··:.to-,..          94619

f
FH2162167
FH2314893
              =~
              659025
              658145
                           CTO
                           CT
                           CTO
                           CTO
                                       HILLS PHARMACY                     7730 WEST HILLSBOROUGH AVE
                                       l«IME10WN PHARMACY OF.MANCJjESTER_ 397 OU) ~IG~jY ,'121
                                       HEALTH CENTER PHARMACY
                                       HELLERTOWN PHARMACY
                                                                           15418 CRENSHAW BLVD
                                                                          25 MAIN ST
                                                                                                                       . ii_.~-~-·-) . .
                                                                                                                      ~~1 .-.':,~ '· iJ.=\:   :·-:.-.  ~!·:A     s.,S!--iii ..i ....
                                                                                                                                                                                                                           =-:            TAMPA
                                                                                                                                                                                                                                      : :: r,IANQIE$TEJI
                                                                                                                                                                                                                                           GARDENA
                                                                                                                                                                                                                                           HELLERTOWN
                                                                                                                                                                                                                                                                  .. I!. !!l,~1
                                                                                                                                                                                                                                                                                    Fl
                                                                                                                                                                                                                                                                                    5'
                                                                                                                                                                                                                                                                                    CA
                                                                                                                                                                                                                                                                                    PA
                                                                                                                                                                                                                                                                                            - -! ·"··: - i:f]'
                                                                                                                                                                                                                                                                                                                                       33615
                                                                                                                                                                                                                                                                                                                                       ~2
                                                                                                                                                                                                                                                                                                                                       90249
                                                                                                                                                                                                                                                                                                                                       18055
                                                                                                                                                                                                                                                                                                                                                                                  10/18/2011
                                                                                                                                                                                                                                                                                                                                                                                  12/13/2012
lflj235827S   660774       CT          HEIINDON PHARMACY MEDSUPl'LY       208.RDfN~El'.                                                          . [ ; ..•.-; ...• -,.i:i: -,-$;:,;,.•;
                                                                                                                                                                        -;:,;.,I
                                                                                                                                                                                                                                          HERN]i)N '""'     :··P!!!,                VA       ~         O!-.:!...-..·r,-·: ..... ...,   20170     :J~~.t: I;'!:,s;J.~-,.,?i       .i@hfil
FH2651986     676984       CTO         HOOSIERS PRESCRIPTION SHOP         3020 SOUTH 7TH STREET                                                                                                                                           TERRE HAUTE                               IN                                                 47802                                       8/9/2013
Fl2637152     680423       CTO         INTEGRA PHARMACY                   3074 COLLEGE PARK                    SUITE B                                                                                                                    CONROE                                    TX                                                 77384                                     10/22/2015
Fl4B93423     723248       CTO         INTEGRA PHARMACY                   3074 COLLEGE PARK                    SUITE B                                                                                                                    CONROE                                    TX                                                 77384                                     10/22/2015
FJ0537083     571849       CTO         JOCHYS PHARMACY                    5858 WEST 20TH AVE                                                                                                                                              HIALEAH                                    Fl                                                33016                                     11/17/2011
FJ1629635     625163       CTO         JET PHARMACY LLC                   2310 WEST WATERS AVENUE SUUITE J                                                                                                                                TAMPA                                      Fl                                                33604                                       3/8/2013
FJ1711147     625264       CTO         JM WARD ENTERPRISES                JOHNS PHARMACY                       9048 BONITA BEACH ROAD SOUTHEAST                                                                                           BONITA SPRINGS                             Fl                                                34135                                      9/13/2012
FL0025064     543149       CTO         LIFE EXTENSION PHARMACY INC        1100 WEST COMERCIAL BLVD                                                                                                                                        FORT LAUDERDALE                            Fl                                                33309                                     11/17/2011
FL0306414     563066       CTO         LANOSOOWNE PHARMACY                19465 DEERFIELD AVE                  SUITE 107                                                                                                                  LEESBURG                                  VA                                                 20176                                      9/13/2012
Fl074S870     580357       CTO         LAMBRIGHT PHARMACY HM              3430 WEST LAM BRIGHT ST              SUITE 103                                                                                                                  TAMPA                                     Fl                                                 33614                                     11/17/2011
A..0911108
!uoo16'n
Fll255492
Fl2090746
              600618
              ffiffi
              606698
              650246
                           CTD
                           CT
                           CTO
                           CTO
                                       LA MILAGROSA PHARMACY
                                       UFJ: PHARMAIIINC
                                        LIFEFIRST PHARMACY
                                        LAUDERHILL PHARMACY LLC
                                                                          444 SOUTHWEST 8 AVE
                                                                          47J.Ulil>lrA9r.
                                                                                   3233 WEST CHARLESTON BLVD
                                                                                   5368 NORTH UNIVERSITY DRIVE
                                                                                                                         n.•"I!•

                                                                                                                              SUITE 204
                                                                                                                                         ! .•....
                                                                                                                                                                                                                                          MIAMI
                                                                                                                                                                                                                                         .HEWYORK
                                                                                                                                                                                                                                          LAS VEGAS
                                                                                                                                                                                                                                          LAUDERHILL
                                                                                                                                                                                                                                                             ~. :,::i •;/~.         Fl
                                                                                                                                                                                                                                                                                    NY
                                                                                                                                                                                                                                                                                    NV
                                                                                                                                                                                                                                                                                    Fl
                                                                                                                                                                                                                                                                                                 :::                            -~=    33130

                                                                                                                                                                                                                                                                                                                                       89102
                                                                                                                                                                                                                                                                                                                                       33351
                                                                                                                                                                                                                                                                                                                                                          ·~:~     .-,
                                                                                                                                                                                                                                                                                                                                                                                  7/29/2012
                                                                                                                                                                                                                                                                                                                                                                             =:rm,/2011,
                                                                                                                                                                                                                                                                                                                                                                                 10/18/2011
                                                                                                                                                                                                                                                                                                                                                                                 11/17/2011
                                                                                                                                                                                                                                                                                                                                                                                                     '3/f/l,3"

R217S312      668679       CTO          LA MILAGROSA PHARMACY                      444 SOUTHWEST 8TH AVENUE                                                                                                                               MIAMI                                     Fl                                                 33130                                      7/30/2012
1flil06!ii§st~1            6i5         ~n\ic~g_~f!ll ,tm:                          Ial'NOJmmO~bAi~EiUiE                    -, 1 ·-    a?,1; l·' i:     ....;.•.. ··· -1 ·i·r . .~!!'-!!·t~,j---··'f~:i'"~ .....~.'° ·-··       ~it~      -!iMPA". ; '.         -:., r ~~,...      . fL,     .:~-~,··'-~:,. -Z:· i-1'~,                 ~613             ta? ¥$=               ::m
FM069ll9S6    575451
fMJla91113-601mi
                           CTO
                           cr
                                       MADABHUSHI PHARMACY SERVICES
                                       MflSicA't~~P~
                                                                                    14936 NORTH FLORIDA AVENUE
                                                                                   Jll! ~5 AV§                            "·~-'e . .m:.. ·u    ~~,t.;,iQ   ">' ." j .\,      "'t\~ .•
                                                                                                                                                                          , ..          :---.·~:;,;)·!~'"'.'. .~a.         '
                                                                                                                                                                                                                                          TAMPA
                                                                                                                                                                                                                                          ~A~N              ... ,,~:, . ~~,·,       Fl
                                                                                                                                                                                                                                                                                    fL·        ·u,~:.:~r~             ••• +
                                                                                                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                                                                                                                       33613
                                                                                                                                                                                                                                                                                                                                       -ffli
                                                                                                                                                                                                                                                                                                                                           4




-·
FM1266Bl3 612472           CTO         MARWOOD LOW COST PHARMACY                   3381 KENTUCKY AVE                                                                                                                                      INDIANAPOLIS                              IN                                                 46221
FM1284861 611317
              621993
                           CTO
                           a
                                       MARCUS HOOK PHARMACY
                                       a~~'fflfol'riilm. J
                                                                                   26 EAST 10TH STREET
                                                                                   ~IJS)IW)'~                                 •-·s: -i·~~,~-'... ·~~.;;c:.~~-;. ~·~-~-~. ,.,~•·:~ ·.:.. ;i..::.,~'..:.·.·.._         ·.-   ..~,'.-;       MARCUS HOOK
                                                                                                                                                                                                                                          DADre~,
                                                                                                                                                                                                                                                                                    PA
                                                                                                                                                                                                                                                                                    F_l     l ,.           ~-~}Ii,             ~~
                                                                                                                                                                                                                                                                                                                                       19061
                                                                                                                                                                                                                                                                                                                                       335 25               ;·~!                  '1lilwz---,;
FM1850228     649363       CTD         METRO DRUGS                                 6338 WEST SAHARA AVENUE                                                                                                                               LAS VEGAS                                  NV                                                 89146
FM2315186     657451       CTO         MEDICAL TOWERS                              17822 BEACH BLVD                                                                                                                                      HUNTINGTON BEACH                           CA                                                 92647
FM2382391     660450       CTD         MEDI SON SOLUTIONS                          898 WASHINGTON STREET                                                                                                                                 NORWOOD                                    MA                                                 2062
FM2397986     676980       CTO         MARROWBONE HOMETOWN PHARMACY                9613 MILLARD HIGHWAY                                                                                                                                  PIKEVILLE                                  1(Y                                                41501
FM2641214     678150       CTO         MAIN AVENUE PHARMACY INC                    1094 A MAIN AVE                                                                                                                                       CLIFTON                                    NJ                                                 7011
FM2675695     679550       CTO         MED EXPRESS RX LLC                          1717 SHEPHARD RO                                                                                                                                      LAKELAND                                   Fl                                                 33811
FM3127520     689840       CTO         MEDICINE CENTER PHARMACY                    403 CLEVELAND ST                                                                                                                                      ELYRIA                                    OH                                                  44035
FN0841418     586387       CTO         NORTHEAST PHARMACY                          6730 BUSTLETON AVENUE                                                                                                                                 PHILADELPHIA                               PA                                                 19149                                     11/17/2011
F03174795     697121       CTO         OMINCARE PHARMACY INC                       1134 WEST NORTH AVE                                                                                                                                   MILWAUKEE                                 WI                                                  53223                                      9/16/2013
Wll10L26      618086       CTO         PHARMLAND LLC                               AKA UFECARE PHARMACY                      3426 13TH AVENUE NORTH                                                                                      SAINT PETERSBURG                           Fl                                                 33713                                       4/1/2012
iEti\¥v¥4.46161# : . ~ ' ,_a;(.'     .- . ffl4,i@.i0£4ffiuc.ar . / ·-   ··"" ~..~ ;1 · - :-i@@toiOW         t@f!5i'#i1i!P!M1bWWWSSH¥Bffi!!Sf-4t;2-;;~·~ ,.,'f?·WP.ftf"fk-"'·; >" ti,· .:.jfjnijml.PB(f'=~ 4:.:g<..,.,;?\ ·;,".. ·,&V ·s ·. ,., 1-:@@!f§. ·;:1.-Q# . · ..4! n@@.~ --¥.%;(&7h$!1tf¾.-4..~% ~W4@u
FP1S3811J     622219       CTO         PARADISE VALLEY PHARMACY                    3805 EAST BELL ROAD                       SUITE 1900                                                                                                  PHOENIX                                   A2                                                  85032                                       4/1/2012
FP1625067     622933       CTO         PHILLY PHARMACY                             210 MARKET ST                                                                                                                                         PHILADELPHIA                              PA                                                  19106                                      9/20/2012
FP1703835     645229       CTO         PHARMALIFE CONSULT                          6850 CORAL WAY                                                                                                                                        MIAMI                                     Fl                                                  33155                                     10/18/2011




CONFIDENTIAL--SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                        MNK-Tl - 0001315847
                                                                                        Case: 1:17-md-02804-DAP Doc #: 2300-4 Filed: 08/14/19 6 of 6. PageID #: 362950



                         SEARCH                                                                                                                                                                                                                   Qate !:;:hargebaclc   Reactivate
DEA•         Customer#   TY PE      CUSTOMER NAME                        ADD UNEl                          !Q.Q...b!t:!U.                ADD LINE 3                            CITY              liAll                     ~                         Restriction          oa ..
FP1856446    643045      CTD        PHARMA 1                             1763 SOUTH HIGH STREET                                                                                COLUMBUS          OH                        43230                           6/21/2013
FP2370334    6609S4      CTO        PRIME SYNERGY LLC                    OBA CURE AID PHARMACY              7333 LAKE UNDERHILL ROAD                                           ORLANDO           FL                        32822                         10/23/2012
FP2589515    6n228       CTO        PHILLY PHARMACY                      9475 ROOSEVELT BLVD                SUITE 12                                                           PHILADELPHIA      PA                        19114                           9/20/2012
FP3136884    691016      CTO        PLAINFIELD PHARMACY                  603 WEST FOURTH ST                                                                                    PLAINFIELD        NJ                        7060                          12/27/2013
FQ0141767    572880      CTD        QUALITY HEALTH DRUG INC              1003 OGDEN AVENUE                                                                                     BRONX             NY                        10452                            1/30/2014
FR1398709    617335      CTO        RX SOLUTIONS                         5144 EAST BUSCH BLVD               QUALITY SPECIALTY PHARMACY                                         TAMPA             Fl                        33617                           9/13/2012
FR1812266    640931      CTO        ROCK 3 INC                           OBA MIMS PHARMACY                  2448 US HIGHWAY l                                                  M1MS              Fl                        32754                           9/13/2012
FS008ll92
~ =56308 7
FS0967692
FS0997809
             540535

             590355
             600584
                         CTO
                         er
                         CTD
                         CTD
                                    SOUTSIOE PHARMACY
                                  : SllPER DISCOUNT PHAR~ACY
                                    SPRING VALLEY PHARMACY
                                    SOUTH PACIFIC MEDICAL EQUIP
                                                                         2811 FULTON RD SUITE B
                                                                         1423 sounfcotuNS srserr
                                                                         2725 SOUTH JONES STREET
                                                                         1800 SOUTHWEST 15r
                                                                                                             SUITE 101
                                                                                                             SUITE 101
                                                                                                                                                                               LORAIN
                                                                                                                                                                               ~9"1
                                                                                                                                                                               LAS VEGAS
                                                                                                                                                                               MIAMI
                                                                                                                                                                                                 OH
                                                                                                                                                                                                 Fl
                                                                                                                                                                                                 NV
                                                                                                                                                                                                 Fl
                                                                                                                                                                                                         I
                                                                                                                                                                                                                           44055
                                                                                                                                                                                                                           33566
                                                                                                                                                                                                                           89146
                                                                                                                                                                                                                           33135
                                                                                                                                                                                                                                   =·   '·~        =·l /2~ 5/29/2013

                                                                                                                                                                                                                                                        10/18/2011
                                                                                                                                                                                                                                                         7/29/2012
FS1539937    621552      CTD        SHAAN BUSINESS INC                   OBA HOMESTEAD PHARMACY              1320 HOMESTEAD ROAD NORTH                                         LEHIGH ACRES      Fl                        33936
FS17Sno1     637081      CTD        SAVMORX DURGS                        205 EAST OCMULGEE STREET                                                                              BROXTON           GA                        31519
F-52039611   6SS769      er         STATSCRJl'TSl'ECIAlTY INC.       ~   1800A NEW YORK AVENUE               STORE 1                         ...:..'(,..;t.~.,S.!!r.           HO~ON STATION     NY                        11746
FS2233423
1S2281145
FS2619940
             655323
             6S"770S
             671448
                         ero
                         er
                         CTD
                                    SUPER MART PHARMACY
                                    SEVENTH ELM DRU~ CORP
                                    STEEPLECHASE PLA.ZA PHARMACY
                                                                         12230 EAST 8 MILE ROAD
                                                                         ;ra 5£VfNTH :.9E~UE
                                                                         11037 FM 1960 WEST                  SUITE 85
                                                                                                                                                                       l   •
                                                                                                                                                                               DETROIT
                                                                                                                                                                               rlEwi~R
                                                                                                                                                                               HOUSTON
                                                                                                                                                                                                 Ml
                                                                                                                                                                                                 RY
                                                                                                                                                                                                 TX
                                                                                                                                                                                                             .   t·
                                                                                                                                                                                                                      ,,   48205
                                                                                                                                                                                                                           i&m
                                                                                                                                                                                                                           77065   '          >          Y..!/..
                                                                                                                                                                                                                                                        10/22/2015
FS3S72840    699983      CTO        SOUTHAMPTON FAMILY PHARMACY          209 ND STREfT PIKE                                                                                    SOUTHAMPTON       PA                        18966                         1/31/2013
FTD251227    560066      CTO        TUG VALLEY PHARMACY LL(              54 WEST SECOND AVE                  PO BOX 538                                                        WILLIAMSON        WV                        2S661                         1/18/2016
FT1881172    643046      ero        TIME SQUARE DRUGS INC.               OBA MANHATINAS PHARMCY              4601 MIUTARYTRAIL           SUITE 101                             JUPITER           Fl                        33458                        11/17/2011
FT2371831    659991      CTO        TRINITY MISSION COMMUNITY PHCY       16569 BROOKHURST ST                                                                                   FOUNTAIN VALLEY   CA                        92708                        10/30/2012
ffi192870    692692      CTO        TRINITY PHARMACY                     1925 EAST ROSEMEADE PARKWAY                                                                           CARROLLTON        TX                        75007                        10/22/2015
FV2081812    649714      CTO        VICTORY RX LLC                       RANDALL MANOR PHCY AND SURGICAL SUI 395 FOREST AVENUE                                                 STATEN ISLAND     NY                        10301                        11/17/2011
FV21'8879    654913      CTO        VILLAGE PHARMACY                     18590 HIGHWAY 16                    SUITE l                                                           PORT VINCENT      LA                        70726                          4/1/2012
FW16SS034    624543      CTO        WESTSIDE PHARMACY                    11504 SANTA MONICA BLVD                                                                               LOS ANGELES       CA                        90025                         9/13/2012
FW2202517    653642      ero        WOODBRIDGE PHARMACY                  14904 JEFFERSON                                                                                       WOODBRIDGE        VA                        22191                        10/30/2012
FW3 124257   690545      ero        WESTENO DISCOUNT PHARMCY             587 JOSEPH E LOWERY                                                                                   ATlANTA           GA                        30310                         2/26/2015
RC0281876    52088559    er         CALIGOR RX INC                       1226 LEXINGTON AVE                                                                                    NEW YORK          NY                        10028                        11/17/2011          1/12/16
             52046386    CTD        GULF COAST MEDICAL PHARM             13685 DOCTORS WAY                                                                                     FORT MYERS        Fl                        33912                         9/16/2011
             52019047    CTO        EXTENDED CARE PHARM                  6400 CRILL AVE                                                                                        PALATKA           Fl                        32177                         7/30/2012
             52032983    CTD        JORGES PHARMACY                      1701 CORAL WAY                                                                                        MIAMI             Fl                        3314S                         7/30/2012
             591357      CTD        ADISHWAR LLC                         LANGHORNE PHARMACY                  172 NORTH PINE ST                                                 LANGHORNE         PA                        19047                         8/15/2012
             52033743    ero        TAFT PHARMACY                        20056 VENTURA BLVD.                                                                                   WOODLAND HILLS    CA                        91364                         8/15/2012




CONFIDENTIAL--SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                             MNK-T1_0001315847
